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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )             8:09CR32
                     Plaintiff,                   )
                                                  )
       vs.                                        )              ORDER
                                                  )
CANDACE PARTEE,                                   )
                                                  )
                     Defendant.                   )


       This matter is before the court on the motion to continue by defendant Candace
Partee (Partee) (Filing No. 73). Partee seeks a continuance of the trial of this matter which
is scheduled for May 26, 2009. Partee’s counsel has represented to the court that Partee
will submit an affidavit wherein Partee represents that she consents to the motion and
acknowledges she understands the additional time may be excludable time for the
purposes of the Speedy Trial Act. Partee’s counsel represents that government’s counsel
has no objection to the motion. Upon consideration, the motion will be granted.


       IT IS ORDERED:
       1.     Partee's motion to continue trial (Filing No. 73) is granted.
       2.     Trial of this matter is re-scheduled for July 6, 2009, before Chief Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between May
15, 2009 and July 6, 2009, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason that defendant’s counsel
requires additional time to adequately prepare the case. The failure to grant additional time
might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 15th day of May, 2009.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
